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               IN THE UNITED STATES BANKRUPTCY COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)
IN RE:                                 :
MARIA A. JOHNSON                       :  BK. No. 18-10251-jkf
                     Debtor            :
                                       :  Chapter No. 13
PNC BANK, NATIONAL ASSOCIATION         :
                     Movant            :
                v.                     :
MARIA A. JOHNSON                       :
                     Respondent        :  11 U.S.C. §362
                                       :

                         NOTICE OF MOTION, RESPONSE DEADLINE
                                  AND HEARING DATE

              PNC BANK, NATIONAL ASSOCIATION has filed a Motion for Relief from the
Automatic Stay with the Court to permit PNC BANK, NATIONAL ASSOCIATION to Foreclose
on 5135 N 15TH ST, PHILADELPHIA, PA 19141.

              Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult an attorney.)

                1.      If you do not want the Court to grant relief sought in the motion or if you want
the Court to consider your views on the motion, then on or before June 29, 2018, you or your attorney
must do all of the following:

                       (a) file an answer explaining your position at:

                               Clerk’s Office, U.S. Bankruptcy Court
                               The Robert Nix Building
                               900 Market Street
                               Philadelphia, PA 19107

If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early enough so
that it will be received on or before the date stated above; and

                       (b) mail a copy to the Movant’s attorney:

                               PHELAN HALLINAN DIAMOND & JONES, LLP
                               1617 JFK Boulevard, Suite 1400
                               One Penn Center Plaza
                               Philadelphia, PA 19103
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               2.      If you or your attorney do not take the steps described in paragraphs 1(a) and
1(b) above and attend the hearing, the Court may enter an Order granting the relief requested in the
motion.

                3.      A hearing on the motion is scheduled to be held before the Honorable JEAN K.
FITZSIMON on July 18, 2018 at 9:30 AM, in Courtroom 3, United States Bankruptcy Court, The
Robert Nix Building, 900 Market Street, Philadelphia, PA 19107. Unless the Court orders otherwise,
the hearing on this contested matter will be an evidentiary hearing at which witnesses may testify with
respect to disputed material factual issues in the manner directed by Fed. R. Bankr. P 9014(d).

               4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to
you if you request a copy from the attorneys named in paragraph 1(b).

               5.     You may contact the Bankruptcy Clerk’s office at (215) 408-2800 to find out
whether the hearing has been cancelled because no one filed an answer.




June 14, 2018
